Case 1:18-r-00148 BEN J OpErmenRFICAGEI RE, Pacey tg'3 (LAtosd

TRULINCS 10080023 - DILLARD, JONATHAN FREDRICK - Unit: SET-E-A KK C(GA22 /
iS. ¢
FROM: 10080023 JS. COURTS
TO: Chaplain ¢
SUBJECT: ***Request to Staff*** DILLARD, JONATHAN, Regi 10080023, SET-E-A_ - SEP 18 2023
DATE: 09/12/2023 08:13:21 AM
. Revd STEPHEN Time.
To: chaplin services . CLEENG DISTRICT OF eso

Inmate Work Assignment: unassigned

i, Jonathan Dillard, 10080-023,FDC Sea-Tac, upon 9/5/2023 could not of summiited any motion for compation release, as | did
noteven finish writing up my motion for the compantion release with the wardens response until 9/8/2023, and forthe courts to
have that before | wasfinished writing it is noit possible. | did send the appeal courts a demand forthe dismisal of the cuurent
attorney Nr, Benjamin , unless that is what you have, | have nota clue , and | requset that the mlion be disgarded as not doen
with my approval. For further notices, | jonathan Dillard will not summitt anytihng to these district courts without it being cerifyed.
If itis not as such then more than likely itis not by me or by my approval, and it i not to be accpeted unless asignedathoriuzed
notice of approval has been attached by me for its accettence, Please disregard current motion for compasntionet release, as |
have not sent my motion yet, it was just finished and sentoffby cerfiyed mail to be signed by the juS7dge Nye and the Us district
attorney , of the actual mnotion for a compantion release. Again, not sure why this occerred but it isnot acceptable to me, or
approved by me, and was not done with my knowledge.. | have sent off another request as of 9/11/2023 top the appeais courts
for an approiate atlorney to be appointed for any further actions and ot have Denise termianted apporaitely and ask these
courts to also honor my requset forthat action please,as outlined in the motion mailed on 9/11/2023 for hi removal anmd a new
attorney tobe apointed. My motion for the compantion release is still ion route , d beijg sent by certifyuerd mail to both the
district courts and the US attorenys office, Please disregard what ever it is you have for that comapniion release at thuls time,
not by me nor appropvced by me oto be summitted. Thank you. Joanthan Dillard, 9/12/2023 ,

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